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    8
    9                           UNITED STATES DISTRICT COURT
   10                         CENTRAL DISTRICT OF CALIFORNIA
   11 Y.Y.G.M. SA d.b.a. BRANDY                        Case No. 2:19-cv-04618-RGK (JPRx)
      MELVILLE, a Swiss corporation,                   Judge: Hon. R. Gary Klausner
   12
                   Plaintiff,
   13                                                  PLAINTIFF Y.Y.G.M. SA D.B.A.
            vs.                                        BRANDY MELVILLE’S MOTION
   14                                                  IN LIMINE NO. 4 TO EXCLUDE
      REDBUBBLE, INC., a Delaware                      THE TESTIMONY OF MICHAEL
   15 corporation,                                     MASNICK
   16                Defendant.                        [Filed Concurrently with Declaration of
                                                       Jason Y. Kelly; and [Proposed] Order]
   17
                                                       Date: June 30, 2020
   18                                                  Time: 9:00 a.m.
                                                       Crtrm.: 850
   19
   20                                                  Pre-Trial Conference:       June 15, 2020
                                                       Trial Date:                 June 30, 2020
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    1 TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:
    2               PLEASE TAKE NOTICE that, on June 30, 2020 at 9:00 a.m., or as soon
    3 thereafter as it may be heard, in Courtroom 850 of the above-titled Court, located at
    4 255 East Temple Street, Los Angeles, CA 90012, the Honorable R. Gary Klausner
    5 presiding, Plaintiff Y.Y.G.M. SA d.b.a. Brandy Melville (“Plaintiff” or “Brandy
    6 Melville”) will, and hereby does, bring this Motion in Limine No. 4 to exclude the
    7 testimony of Michael Masnick.
    8               This Motion will be made pursuant to Federal Rules of Civil Procedure 26 and
    9 37, Federal Rules of Evidence 401, 402, 403, and 702, and the additional authorities
   10 cited herein. This Motion is based on the following grounds:
   11                    Michael Masnick’s purported rebuttal to the Expert Report of Jamie
   12                     Goldberg Gerson (the “Gerson Report”) lacks foundation because
   13                     Masnick cannot opine that Defendant Redbubble, Inc. (“Redbubble”)
   14                     goes beyond what other print-on-demand websites do to police
   15                     infringements without considering the volume of infringements on, or
   16                     the infringement-related policies of, any print-on-demand websites other
   17                     than Redbubble’s.
   18                    The remainder of Masnick’s opinions constitute undisclosed, improper
   19                     rebuttal in that the difficulties of content moderation as a general matter
   20                     do not contradict that Redbubble does a worse job at the task than other
   21                     print-on-demand websites.
   22                    Redbubble refused to allow Masnick to be deposed, and Masnick in fact
   23                     failed to appear for his duly-noticed deposition.
   24                    Masnick’s policy arguments criticizing federal intellectual property laws
   25                     are unduly prejudicial and likely to mislead the jury, seeking a jury
   26                     nullification on the grounds that content moderation is difficult.
   27                    Masnick misstates the law and the requirements for Redbubble to be
   28                     liable for infringement, invading the province of the Judge.
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    1               This Motion is based on this notice, the accompanying memorandum of points
    2 and authorities, the Declaration of Jason Y. Kelly (“Kelly Dec.”) and exhibits attached
    3 thereto, and all of the papers, records, and files herein, and upon such oral and
    4 documentary evidence that may be presented at the hearing on this matter.
    5               The Motion is made following the L.R. 7-3 conference of counsel that occurred
    6 on May 8, 2020. (Kelly Dec. ¶ 9.)
    7
    8 DATED: May 15, 2020                        BROWNE GEORGE ROSS LLP
    9                                               Keith J. Wesley
                                                    Ryan Q. Keech
   10                                               Jason Y. Kelly
   11
                                                 By:        /s/ Keith J. Wesley
   12                                                       Keith J. Wesley
   13                                            Attorneys for Plaintiff Y.Y.G.M. SA d.b.a.
                                                 Brandy Melville
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    1                  MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.        INTRODUCTION
    3           Plaintiff’s expert Jamie Goldberg Gerson is a leader in the field of intellectual
    4 property enforcement. Her testimony will establish, through the comparison of
    5 empirical data and infringement-related policies, that Redbubble is amongst the worst
    6 violators of intellectual property rights in the print-on-demand industry.
    7           Redbubble’s rebuttal expert Michael Masnick can say nothing about the topic.
    8 The Rebuttal Expert Report of Michael Masnick (the “Masnick Report”) does not
    9 compare how Redbubble performs in policing infringements vis-à-vis a single one of
   10 its competitors. Nor could it, because Masnick did not consider the volume of
   11 infringements present on nor the infringement-related policies of a single print-on-
   12 demand website other than Redbubble’s.
   13           Instead, Masnick spends a lot of time making policy arguments about what the
   14 intellectual property laws should be, both in his blog and the Masnick Report, almost
   15 always coming down on the side of leniency for alleged infringers.1 Such testimony
   16 should be excluded for a number of independent reasons:
   17            Masnick was designated solely as a rebuttal expert (after the deadline to
   18              designate experts passed), and thus can only offer rebuttal to Ms. Gerson’s
   19              opinions. But Masnick’s opinion that content moderation is difficult as a
   20              general matter does not rebut Ms. Gerson’s point that Redbubble does a
   21              worse job than its competitors at the same task;
   22            Redbubble and Masnick violated the Federal Rules of Civil Procedure by
   23              refusing to allow Brandy Melville to depose Masnick, and Masnick failed
   24              to appear for his duly-noticed deposition;
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          Masnick’s catchphrase—emblazoned on merchandise for like-minded individuals
   27 to purchase—is “copying is not theft.” But federal law disagrees, copying a federally
   28 registered trademark and using it to sell merchandise is counterfeiting, and it is illegal.
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    1          Masnick’s policy-based disagreements with federal intellectual property
    2              laws are unduly prejudicial and likely to mislead the jury—being offered
    3              only in search of a jury nullification; and
    4          Certain of Masnick’s opinions misstate the law and invade the province of
    5              the Judge.
    6         For these reasons, and as set forth further below, Brandy Melville respectfully
    7 requests that the Court grant this Motion and exclude Masnick from testifying at trial.
    8 II.     EVIDENCE TO BE EXCLUDED
    9         The entirety of the Masnick’s testimony is inadmissible. His rebuttal to the
   10 Gerson Report lacks foundation, and the remainder constitutes undisclosed, improper
   11 rebuttal. Additional portions of the Masnick Report misstate the law and are unduly
   12 prejudicial, as discussed herein.        Further, Redbubble did not comply with its
   13 obligation to produce Masnick for deposition, and Masnick failed to appear for his
   14 duly-noticed deposition.        At bottom, none of Masnick’s proffered opinions is
   15 admissible, and his testimony should be excluded from trial.
   16 III.    ARGUMENT
   17         A.      The Court May Exclude Masnick’s Testimony
   18         “The purpose of a motion in limine is to ask the court to rule on evidentiary
   19 issues in advance of trial . . . .” Dae Kon Kwon v. Costco Wholesale Corp., No. 08-
   20 cv-360, 2010 WL 571941, at *3 (D. Haw. Feb. 17, 2010) (citing Bradley v. Pittsburgh
   21 Bd. of Educ., 913 F. 2d 1064, 1069 (3d Cir. 1990)); Lee v. City of Columbus, Ohio,
   22 No. 07-cv-1230, 2010 WL 333665, at *1 (S.D. Ohio Jan. 21, 2010). “This serves to
   23 avoid the futile attempt of ‘unring[ing] the bell’ when jurors have seen or heard
   24 inadmissible evidence, even when stricken from the record.” Crane-McNab v. Cty.
   25 of Merced, No. 08-cv-1218, 2011 WL 94424, at *1 (E.D. Cal. Jan. 11, 2011).
   26         Motions in limine also “save time by ruling on evidentiary disputes in advance,
   27 minimizing side-bar conferences and other disruptions at trial and potentially
   28 obviating the need to call certain witnesses.” Id. (citing United States v. Tokash, 282
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    1 F.3d 962, 968 (7th Cir. 2002)). The Court is not limited to prohibiting the introduction
    2 of certain documents or information into evidence but may also prohibit any mention
    3 of the excluded evidence in opening statements, during trial, or in argument to the
    4 jury. Benedi v. McNeal-P.P.C., Inc., 66 F.3d 1378, 1384 (4th Cir. 1995).
    5         Expert testimony is the proper subject of motions in limine; such testimony is
    6 admissible only if it is reliable and if it will assist the trier of fact to understand the
    7 evidence or to determine a fact in issue. Daubert v. Merrell Dow Pharms., Inc., 509
    8 U.S. 579, 590-91 (1993). To meet its “gatekeeping” duties under Federal Rule of
    9 Evidence 702, the district court must make a preliminary determination that the
   10 expert’s testimony is reliable. Estate of Barabin v. AstenJohnson, Inc., 740 F.3d 457,
   11 463 (9th Cir. 2014).
   12         B.    Masnick’s Rebuttal to the Gerson Report Lacks Foundation and Is
   13               Thus Inadmissible
   14         Expert testimony must be “based on sufficient facts or data” (i.e., it must have
   15 appropriate foundation). Fed. R. Evid. 702(b); Daubert, 509 U.S. at 597 (expert
   16 testimony must “rest[ ] on a reliable foundation”). Expert opinions that do not
   17 consider facts required for their analysis are inadmissible. See, e.g., Onyiah v. St.
   18 Cloud State Univ., 684 F.3d 711, 720 (8th Cir. 2012) (affirming the exclusion of
   19 expert testimony concerning a professor’s salary where expert did not consider the
   20 University’s salary grids); Talley v. Danek Med., Inc., 179 F.3d 154, 162 (4th Cir.
   21 1999) (disregarding opinion that orthopedic screws were too short where the expert
   22 did not know their actual length).
   23         Here, Ms. Gerson reached the opinion that “Redbubble is one of the worst
   24 violators when it comes to policing their marketplace for intellectual property
   25 infringements when compared to other print-on-demand sites.”                 (Dkt. No. 36-8
   26 (Gerson Report) ¶ 25.) This opinion was built upon a foundation of empirical analysis
   27 and consideration of infringement-related policies—in both instances comparing
   28 Redbubble to other print-on-demand websites.              (Id. ¶¶ 20-24.)     For example,
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    1 Ms. Gerson found that: (1) Redbubble’s average response time to a request to remove
    2 an infringing product is 6 days, whereas sunfrog.com, moteefe.com, and
    3 spreadshirt.com average from 24-48 hours; and (2) Redbubble refuses to block
    4 searches for and tagging using trademarked brand names where other print-on-
    5 demand websites do so after the report of a violation. (Id. ¶¶ 31, 32.)
    6               The Masnick Report concludes the opposite, stating that Redbubble “goes
    7 beyond what other, similarly situated companies do in attempting to police infringing
    8 content.” (Id., Ex. 2 (Masnick Report) ¶ 97.) But Masnick failed to consider any
    9 infringement-related information about other print-on-demand websites, whether that
   10 be empirical data, infringement-related policies, or otherwise. (Id. ¶ 4.)
   11               So, for instance, when Masnick discusses Redbubble’s average response times
   12 to infringement complaints, he can only argue that, “[g]iven the massive differences
   13 in size, and traffic, it is not unexpected that the larger site might take slightly more
   14 time to respond to notices[.]” (Id. ¶ 34.) But this scale argument is pure conjecture—
   15 Masnick considered no data concerning the number of infringement complaints
   16 submitted to sunfrog.com or spreadshirt.com, nor the amount of content moderators
   17 those companies employed. (Id. ¶ 4.)2 (Sunfrog, for instance, and contrary to
   18 Masnick’s guesses, projected in excess of $150 million in revenue for 2017 alone.3)
   19               Similarly, in his attempt to defend Redbubble’s failure to follow the standard
   20 industry practice of disabling searches for trademarked brands following a complaint
   21 of infringement, Masnick states that “leaving such a search still enabled is . . .
   22 standard practice across nearly all platforms that I am aware of.” (Kelly Dec., Ex. 2
   23
   24   2
        Masnick also speaks out of both sides of his mouth on this point. Elsewhere, he
   25 argues that larger companies have “the resources to hire many more content
      moderators and build out much greater expertise in automated content moderation
   26 solutions[.]” (Id. ¶ 15.)
   27 3 (See https://www.crainsdetroit.com/article/20170709/news/633301/sunfrog-uses-
   28 seo-social-media-become-largest-t-shirt-seller-us.)
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    1 ¶ 37.) But, again, Masnick did not consider the infringement-related policies of any
    2 print-on-demand websites other than Redbubble’s, leaving this statement entirely
    3 unsupported.
    4           In summary, Masnick’s abject failure to consider evidence concerning print-
    5 on-demand websites other than Redbubble, when opining that Redbubble goes
    6 beyond what other print-on-demand websites do to police infringements, is akin to
    7 opining about a professor’s salary without considering the relevant salary grids
    8 (Onyiah) or opining that a screw is too short without knowing the screw’s actual
    9 length (Talley). The Masnick Report’s rebuttal to the Gerson Report thus lacks
   10 foundation and should be excluded.
   11           C.     The Remainder of the Masnick Report Does Not Rebut
   12                  Ms. Gerson’s Opinions
   13           The remainder of the Masnick Report does not qualify as rebuttal expert
   14 testimony and thus must be excluded because it was not timely disclosed. “When a
   15 party fails to make the disclosures required by Rule 26(a), the party is not allowed to
   16 use the witness to supply evidence at trial unless it establishes that the failure was
   17 substantially justified or is harmless.” Goodman v. Staples The Office Superstore,
   18 LLC, 644 F.3d 817, 826 (9th Cir.2011) (citing Fed. R. Civ. P. 37(c)(1)).
   19           Pursuant to Federal Rule of Civil Procedure 26(a)(2)(D)(i), the deadline to
   20 disclose expert witnesses in this case was April 1, 2020 (i.e., 90 days before the
   21 June 30, 2020 trial date). Redbubble did not disclose Masnick by April 1, 2020;
   22 instead, it designated him 30 days later solely as a rebuttal expert. (Kelly Dec. ¶ 5,
   23 Exs. 1, 2.)4 Masnick can thus only testify as a rebuttal expert, and any of his opinions
   24 that do not constitute proper rebuttal must be excluded. People v. Kinder Morgan
   25 Energy Partners, L.P., 159 F. Supp. 3d 1182, 1191-93 (S.D. Cal. 2016) (excluding
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   27   4
            Rebuttal experts must be disclosed “within 30 days after the other party’s
   28 disclosure.” Fed. R. Civ. P. 26(a)(2)(D)(ii).
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    1 improper rebuttal testimony from expert disclosed, after the deadline to disclose
    2 experts, as a rebuttal expert); see also Yeti by Molly, Ltd. v. Deckers Outdoor Corp.,
    3 259 F.3d 1101, 1105-07 (9th Cir. 2001) (affirming the exclusion of improperly
    4 disclosed rebuttal expert).
    5           Rebuttal expert testimony is testimony that is “intended solely to contradict or
    6 rebut evidence on the same subject matter identified by another party[.]” Fed. R. Civ.
    7 P. 26(a)(2)(D)(ii); Kinder Morgan Energy Partners, 159 F. Supp. 3d at 1191 (holding
    8 expert testimony that did “not solely contradict or rebut” the other party’s experts was
    9 not proper rebuttal); Vu v. McNeil-PPC, Inc., No. 09-cv-1656, 2010 WL 2179882, at
   10 *2-4 (C.D. Cal. May 7, 2010) (same); Int’l Bus. Machs. Corp. v. Fasco Indus., Inc.,
   11 93-cv-20326, 1995 WL 115421, at *3 (N.D. Cal. Mar. 15, 1995) (“‘rebuttal’ experts
   12 cannot put forth their own theories; they must restrict their testimony to attacking the
   13 theories offered by the adversary’s experts”).
   14           Here, six of the eight substantive sections in the Masnick Report do not even
   15 purport to address Ms. Gerson’s opinions. Among other things, Masnick argues that
   16 Teespring wrongly took down his “copying is not theft” merchandise; some copyright
   17 infringement notices are erroneous, such as FIFA using a copyright complaint to take
   18 down a video of protests at the World Cup; and Facebook has experienced difficulties
   19 moderating breasts on its platform. (Kelly Dec., Ex. 2 ¶¶ 67-75, 99-108.)5
   20           Redbubble appears to be attempting to make the point that it is difficult to
   21 police its website for infringements, and thus it should be given some leeway for
   22
   23   5
           Sections III (Content Moderation), IV (Masnick’s Impossibility Theorem: Content
   24   Moderation at Scale Is Impossible to Do Well), V (Teespring’s Takedown of
        “Copying Is Not Theft” Products), VI (Excessive Moderation Is A Significant And
   25
        Persistent Problem When It Comes To Copyright), VII (There Is No Magic Bullet for
   26   Moderating A Social Media Platform), and IX (Some Examples of the Impossibility
   27   of Content Moderation at Scale) of the Masnick Report all relate to the difficulties in
        moderating content online generally—primarily in contexts outside of trademark
   28   infringement and the print-on-demand industry.
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     1 mistakes. But this is not the subject of Ms. Gerson’s report. While it may have been
     2 possible for Redbubble to designate an expert on that topic, it deliberately chose not
     3 to do so within the timeframe specified for that purpose under the Federal Rules of
     4 Civil Procedure. Indeed, the argument that content moderation is difficult generally
     5 does not rebut Ms. Gerson’s opinion that Redbubble performs worse than its peers at
     6 the same task—failing to adopt common-sense policies adopted by other print-on-
     7 demand websites to mitigate infringements.
     8           Although Redbubble’s failure to timely designate Masnick is alone sufficient
     9 to exclude all opinions that do not constitute rebuttal evidence, it should be noted that
    10 Redbubble’s failure to properly disclose Masnick is neither substantially justified nor
    11 harmless. Redbubble has long known that it would argue it does a good job policing
    12 infringements (i.e., its primary defense to Brandy Melville’s contributory trademark
    13 infringement claims). Indeed, Redbubble recently designated Masnick to provide the
    14 same opinion in defense of claims in another case. (Kelly Dec. ¶ 3.)6 In that case,
    15 Ms. Gerson was designated as a rebuttal expert to a portion of Masnick’s opinion.
    16 (Id.) This suggests that Redbubble’s failure to disclose Masnick here was a strategic
    17 choice to avoid the introduction of Ms. Gerson’s rebuttal opinion, but when Brandy
    18 Melville designated Gerson anyway, Redbubble had a change of heart.
    19           Redbubble’s failure to disclose Masnick deprived Plaintiff of any opportunity
    20 to rebut his opinions. And as explored further below, Redbubble has refused to allow
    21 Plaintiff to depose Masnick, arguing that Plaintiff is not entitled to depose him before
    22 trial. “This is a hornbook example of sandbagging[.]” Vu, 2010 WL 2179882, at *3.
    23           D.     Masnick Refused to Be Deposed, Failing to Appear at His Deposition
    24           Masnick must additionally be excluded because Redbubble improperly
    25 obstructed Brandy Melville’s attempt to exercise its right to depose him under the
    26
         6
    27     This designation was made on December 20, 2019, in Atari Interactive, Inc. v.
       Redbubble, Inc., Case No. 4:18-cv-03451-JST in the Northern District of California.
    28 (Kelly Dec. ¶ 3.)
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     1 Federal Rules of Civil Procedure. The Court will no doubt recall that the discovery
     2 cut-off in this case was April 20, 2020. (Dkt. No. 26.) Redbubble did not disclose
     3 Masnick until after the cut-off, on May 1, 2020. (Kelly Dec. ¶ 5, Exs. 1, 2.) On
     4 May 6, 2020, Redbubble identified Masnick as an expert whose opinions may be
     5 presented at trial. (Id. ¶ 6.) Hours later, Plaintiff noticed Masnick’s deposition for
     6 May 14, 2020. (Id. ¶ 6, Ex. 3.) Redbubble responded that it would not allow Masnick
     7 to be deposed at the noticed time, or any other time, arguing that discovery was closed.
     8 (Id. ¶ 7, Ex. 4.) Masnick did not appear at the noticed time. (Id. ¶ 8.)
     9               Redbubble has no justification for its failure to produce Masnick for deposition.
    10 The scheduling order in this case was not intended to limit the rights that the Federal
    11 Rules of Civil Procedure afford. See Atchison, Topeka & Santa Fe Ry. Co. v. Hercules
    12 Inc., 146 F.3d 1071, 1074 (9th Cir. 1998) (“District courts may not contravene the
    13 Federal Rules of Civil Procedure” by “qualify[ing a federal rule] with scheduling
    14 orders.”). Federal Rule of Civil Procedure 26(b)(4)(A) authorizes Plaintiff to “depose
    15 any person who has been identified as an expert whose opinions may be presented at
    16 trial . . . only after the [Rule 26 expert] report is provided.” (Emphasis added.)
    17               Accordingly, Redbubble’s refusal to allow Masnick to be deposed, and
    18 Masnick’s defiance of a valid deposition notice, was unjustified and improper. Per
    19 Rule 26(b)(4)(A)’s plain language, Plaintiff is entitled to Masnick’s deposition if his
    20 “opinion may be presented at trial”—the converse being that if Masnick refuses to be
    21 deposed, he may not be allowed to testify at trial. No prior discovery order is
    22 required—the Court may through its inherent powers bar testimony from an expert
    23 witness “whose use at trial is in bad faith or would unfairly prejudice an opposing
    24 party.” Campbell Indus. v. M/V Gemini, 619 F.2d 24, 27 (9th Cir. 1980) (affirming
    25 exclusion of expert testimony through district court’s inherent powers); Unigard Sec.
    26 Ins. Co. v. Lakewood Eng’g & Mfg. Corp., 982 F.2d 363, 368 (9th Cir. 1992) (same).
    27 Masnick is thus also subject to exclusion on this basis.
    28 ///
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     1               E.    Masnick’s Negative Opinions About Federal Intellectual Property
     2                     Laws Are Irrelevant, Unduly Prejudicial, and Likely to Mislead the
     3                     Jury
     4               Certain additional portions of Masnick’s testimony may separately be excluded
     5 because their “probative value is substantially outweighed by a danger of . . . unfair
     6 prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or
     7 needlessly presenting cumulative evidence.” Fed. R. Evid. 403; see also Benna v.
     8 Reeder Flying Serv., Inc., 578 F.2d 269, 274 (9th Cir. 1978) (affirming exclusion of
     9 evidence related to parts of airplane engine unrelated to engine’s failure as likely to
    10 confuse issues, mislead the jury, and undue delay and waste of time).
    11               Here, the theme of the Masnick Report is that it is difficult to protect third
    12 parties’ intellectual property rights on the Internet. (See, e.g., Kelly Dec., Ex. 2 § IV
    13 (Masnick’s Impossibility Theorem: Content Moderation at Scale Is Impossible to Do
    14 Well).) That argument is irrelevant to whether Redbubble must comply with federal
    15 intellectual property laws. It also presents a serious risk of confusing the issues and
    16 misleading the jury to believe that, if the burdens on Redbubble are too high,
    17 Redbubble gets a free pass to infringe third parties’ trademarks. Not so. Redbubble
    18 is not entitled to break the law in order to make a profit.
    19               Similarly, Masnick should not be allowed to present his “copying is not theft”
    20 arguments to the jury. The sale of a counterfeit Brandy Melville T-shirts likely
    21 deprives Brandy Melville of the sale of an authentic product and the associated
    22 money, i.e., theft. Nonetheless, setting aside any philosophical debate concerning
    23 whether copying is theft, copying a federally registered trademark and using it to sell
    24 merchandise is counterfeiting and illegal. Allowing Masnick to argue to the jury that
    25 copying is not theft runs a serious and substantial risk of misleading the jury that theft
    26 is required for a plaintiff to prove a claim for trademark infringement.
    27 ///
    28 ///
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                                                      -9-              Case No. 2:19-cv-04618-RGK (JPRx)
             PLAINTIFF Y.Y.G.M. SA D.B.A. BRANDY MELVILLE’S MOTION IN LIMINE NO. 4 TO EXCLUDE THE
                                         TESTIMONY OF MICHAEL MASNICK
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     1               F.    Masnick’s Opinions Concerning Intellectual Property Law Misstate
     2                     the Law and Invade the Province of the Judge
     3               Opinion testimony that appears to define the applicable legal standard is
     4 inappropriate and properly excluded as it “usurp[s] the province of the judge.”
     5 Burkhart v. Washington Metro. Area Transit Auth., 112 F.3d 1207, 1212 (D.C. Cir.
     6 1997); see also Specht v. Jensen, 853 F.2d 805, 807 (10th Cir. 1988); Shahid v. City
     7 of Detroit, 889 F2d 1543, 1547 (6th Cir. 1989).
     8               Here, Masnick, a non-attorney, provides misguided opinions about the law as
     9 it applies to companies like Redbubble, including: (1) “while many e-commerce
    10 websites do not do any proactive policing, Redbubble appears to go beyond what the
    11 law requires in removing infringing content by setting up and operating an effort to
    12 be more proactive,” and (2) “many websites rely on court decisions such as those in
    13 Perfect 10 v. ccBill regarding the requirement to have rightsholders provider [sic]
    14 specific locations for where to look for the products they allege are infringing.” (Kelly
    15 Dec., Ex. 2 ¶¶ 29, 32.) Such opinions clearly violate the rule that an expert may not
    16 opine about the applicable legal standard and must be excluded.
    17 IV.           CONCLUSION
    18               For the foregoing reasons, Plaintiff respectfully requests that this Court grant
    19 its Motion in Limine No. 4 to exclude the testimony of Redbubble’s purported rebuttal
    20 expert, Michael Masnick.
    21
    22 DATED: May 15, 2020                         BROWNE GEORGE ROSS LLP
    23                                                Keith J. Wesley
                                                      Ryan Q. Keech
    24                                                Jason Y. Kelly
    25
                                                   By:        /s/ Keith J. Wesley
    26                                                        Keith J. Wesley
    27                                             Attorneys for Plaintiff Y.Y.G.M. SA d.b.a.
                                                   Brandy Melville
    28
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